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              PETITION FOR REVIEW

            United States Court Of Appeal
            For the Seventh Circuit.
            219 South Dearborn Street




August 20,2023

Bonjour Mack
4945 N. Sheridan Rd Apt.1810
Chicago, lllinois 50640

Christopher G. Conway
Clerk Of Court
(312)43s-s8s0

ln Re: Complaint Of Judicial Misconduct or Disability Nos. 07-23-90022 and - 90023

Dear Mr. Christopher C. Conway:

Pursuant to the memorandum a.nd order regarding the disposition of my complaint of Judicial
misconduct or disability filed on June 16, 2023, I am hereby filing this letter to Petition the Judicial
council of this.circuit to review the misconduct and the order of, Mediation District Court Judge Maria
Valdez. and Judge Franklin U. Valderamma, who is also a District Court Judge Of The Northern District Of
lllinois Eastern Division. The two judges broke their judicial code of conduct by strategically mishandling my
case, Bonjour Mack v Chicago Transit Authority, 1:17cv-06908     .   They also broke the code by biasly
ruling and executing verdictts that exemplified a CONFLICT OF INTEREST .

Judge Valdez sided with my former Employer, Defendant Chicago Transit Authority (CTA), by disallowing
my counsel's request that I be present during important court hearings, misleading me into thinking that I was
scheduled to appear in such meetings, falsiffing facts and altimately ruling in their favor.
Judge Valderrama, exhibited a Conflict Of lnterest by agreeing to and turning a blind eye to Judge Valdez's
deception and unfair ruling. I communicated this to him through my attorney by email. ln the email, I pointed
out the Mediator's false statements and wrong doings. However, Judge Valderrama refused to respond to
my comments

ln this email, I also made Judge Valderamma aware that I was willing to accept the Settlement that I was
awarded , as long as it was with reference to my work record, retirement, pension and other associated
        .
benefits The .ludge still disregarded my request and I was not given an explanation as to why. Nor was I
properly counseled about the principles of the Closing Agreement: Confused, I withheld my
signature hoping for a face to face with the District Judge. ln November o12022, my attorney Kenneth
Battle, stated that there might be a possibility that he may want to speak to me.

On April 7,2023, . I noticed an email from Mr.. Battle that was dated April 5, 2023. lt stated, "TODAY, at
the close of birsiness, your old case will be converted to a dismissalwith prejudice. We have not heard from
you in weeks since you sleadfastly refused to sign the W9 to collect your settlement payment. lf you do not
sign today, CTA witl likely refuse to pay you anything, whether you sign or not. That's because the case will be
       Case: 1:23-cv-06138 Document #: 1 Filed: 08/25/23 Page 3 of 7 PageID #:3



dismissed with prejudice. As a result, you will get ABSOLUTELY NOTHING for all the time and energy you put
into this case."

I had unsuccessfully been trying to reach Mr. Battle.. ln March o12023, I sent an email to inform my lawyer
of this. it read, " I haven't spoken to you since November o12022.. We were waiting for the judge to decide
how he would respond..." I explained this to Mr Battle by phone and he requested that I submit the
Agreement to him and that he would beg CTA to accept it. I believed it was already too late and that signing
the form would only make matters worse..

Even though CTA terminated me because of my disability and unfairly terminated me without reasslgning me to
a vacant position, Severance Pay, etc. Judge Valdez and Valderamma feels Justified with not only letting
them get away without being held accountable, but they are also allowing them to keep the money that l've
earned. Yes, the Settlement that I was to receive are my\rages." Judge Valdez pointed this fact out to me
during my Settlement Conference held on 2122122. I can't see anything legally sound about their
decisions and hope that the Court does not either.

I am begging the Court to help me to get the award that I unjustly lost, along with the status of my work
record, Retirement, pension and other associated benefits.

Please find in detail my complaint regarding both judges on the following pages.

Thank You,




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December 9,2014

BonjourMack                                   P€ntiftJ,
Badge 44800                                      TS
                                                 Tail' n /4 /
P. o.Box40eo36
Chicago,Il. 60640

CERTIFIED MAIL: 7008 1830 OO4 0610 8264

Re: AdminlstratlvelY SeParated
Dear Ms. Mack,

In accordance wit1. Attachment D" Area 6O5, of the collcctive                aqeement between the Authority
                                                         in    ihactive status has eryired- On 9l4ll4,you
and  the Union   representingyou,   your authorized fime    an                                                     -.r t
were sent a letter intorminEyou-Jf'dn opporhrnity to apply for a (1) one year€xterrliol. Ttre letter stated ^ I
that to appt5r for the orre y&l extension, you would neea to submit acceptable uledical documentation- The      ;i
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Benefits Department     to                                                                                              e
reguest for ihe (l) one year extcirsion yas revieqred by our lrdpdicd Review officer and has been denied- + h
Also, yorr did not exercise the alternative options:                                                          t
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    3.           Retiremenl
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Ttrerefore, you have been administr. ativel5r separated (effectivu t;ztgtt.4l from the Chicago Transit Authdhty.
you are ,i{"ir.a to turn inyour C"fA Riding-Card and any outstanding CfA eqrrip-ment irnrnsdiatebr- Upon            3 ;\
receipt of all property, a clearance certificate will be prepar-ed 9 compJnsate yorrtot any monies yo,, -ay         S
harrc coming. pf."". t rrlr i" your.cfA equipment to Benefits services.                                             '€j"
Upon your separation and in the event your Health Benefits are being terminated, under federal law,
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emptoyees     tfr.ir corrcred dependents are eligible for contirrrred health care coverage- In accordance with
          "11a Omnibus Budget Reconciliation Act (COBRAI of 1985, you may continue your hedth care
the Coneotdated
benefits atyour ovrrr expense foieighteen months. Wageworts, CTA's current COBRA administrator, will
forrrard a Continuation of CoveragJApplication to the residence address you have listed with CTA. If you do
not receive your Confrmation of Coverage application within 45 days, please contact the CTA Benefits
n"p.rt*.rr[ at (312) 681-2225'lptress 3). You may cutact the COBRA administrator, Wageworks COBRA
biUing at (87 71 5U2{l27 2 for additional inforrration.

We regret the necessit5r of this action and wish you much success in your fuhrre endeavors.




tr@
Generd Manager
BendfiB Service




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                            DISTRICT OF ILLINOIS
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       Plaintiff
                                                                1:17-cv-06908
                                                                Judge Joan H. Lefkow
                                                                MaglstrateJ udge Maria Valdez

       Instructions: Please ans\l/er every question. Do not leave any blanks. If the answer is "nore" or
       "not applicable (N/A)," write that response. Wherever a box is included, place al nwhichever
       box applies. If you need more space to answer a question or to explain your answer, attach an
       additional page that refers to each such question by number and provide the additional
       information. Please print or type your answers.

       Application: I,                                                   declarethat I am   *r"ffi*in
       above-entitled case- This affidavit constitutes my application to proceed EFwithout full
       prepayrnent of fees,   or E in zupport of my motion for appointnaent of counsel, or E mtfr. t
       declare that I am uaable to pay the costs of these proceedings, and I believe that I am entitld to
       the relief sought in the complaint/petition/mofion/appeal. In support of my application,I answer
       the following questions under penalfy of perjury.

       1.       Are you             incarcerated?                                        E     Yes           &.
                                                                                         (If '.IlIo" go to question 2-)

                lD #,    Aj     / A               Name ofprison orjail:
                Do you rec,erE any payment &om the        institution?                   d Yes               dNo
                Monthly amount

                Are you currently employed?                                              E Yes               /*,
                A.     If the answer is "yes,"state your:

                         Name and address of employer:

                         Hthe answer is "zo," state your:
                         Beginning and ending dates of lgst employment:
                         l^ast monthly salary or wages:

                         Name andaddrcqp of e,mployer:

                AreyoumarrieE?'                                                          El Yes                    No
                If the answer is'!es", is your spouse currently employed?                El Yes              trLitr
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       Rev.06/03/2016
